 Case 1:17-cv-00126-RC Document 1-2 Filed 03/31/17 Page 1 of 3 PageID #: 10




                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF TEXAS
                             BEAUMONT DIVISION

HORACE SAVOY, AND WIFE,               §
TIFFANY SAVOY                         §
                                      §
VS.                                   §    CIVIL ACTION NO. _______________
                                      §
MINSTAR TRANSPORT, INC.,              §
RICHARD MCGOWLAN,                     §
KUBOTA TRACTOR                        §
CORPORATION AND MARUBENI              §
TRANSPORT SERVICES CORP.              §            JURY TRIAL REQUESTED



                    LIST OF PARTIES, ATTORNEYS, AND COURT
                     FROM WHICH CASE IS BEING REMOVED



TO THE HONORABLE UNITED STATES DISTRICT COURT:

      Plaintiffs:                  HORACE SAVOY and TIFFANY SAVOY

      Counsel for Plaintiff:       Gilbert T. Adams, III
                                   State Bar No. 00790201
                                   GILBERT ADAMS LAW OFFICES
                                   1855 Calder Avenue at Third
                                   P.O. Drawer 3688
                                   Beaumont, Texas 77704
                                   Phone (409) 835-3000
                                   Facsimile (409) 832-6162
                                   gilbert@gta-law.com

      Defendants:                  MINSTAR TRANSPORT, INC.
                                   RICHARD MCGOWLAN

      Counsel for Defendant:       Robert L. Ramey
                                   State Bar No. 16498200
                                   Lee D. Thibodeaux
                                   State Bar No. 19834200
                                   RAMEY, CHANDLER, QUINN & ZITO, P.C.
                                   750 Bering, Suite 600
                                   Houston, Texas 77057
Case 1:17-cv-00126-RC Document 1-2 Filed 03/31/17 Page 2 of 3 PageID #: 11




                                     Telephone: (713) 266-0074
                                     Facsimile: (713) 266-1064
                                     lthibodeaux@ramey-chandler.com

    Defendant:                       KUBOTA TRACTOR

    Counsel for Defendant Kubota:    W.T. Womble
                                     THE WOMBLE LAW FIRM
                                     8 Eaton Square
                                     Houston, Texas 77027
                                     Telephone (713) 882-7468
                                     wt@womco.com

    Defendant:                       MARUBENI TRANSPORT SERVICE CORP.


    Court from which case is being removed:    The Honorable Justin Sanderson
                                               60th Civil District Court
                                               Jefferson County Courthouse
                                               1149 Pearl Street
                                               Beaumont, TX 77701
                                               (409) 835-8472



                                     Respectfully submitted,

                                     RAMEY, CHANDLER, QUINN & ZITO, P.C.


                                     /s/ Robert L. Ramey
                                     Robert L. Ramey
                                     State Bar No. 16498200
                                     Lee D. Thibodeaux
                                     State Bar No. 19834200
                                     750 Bering, Suite 600
                                     Houston, Texas 77057
                                     Telephone: (713) 266-0074
                                     Facsimile: (713) 266-1064
                                     rlr@ramey-chandler.com
                                     lthibodeaux@ramey-chandler.com
                                     ATTORNEY FOR DEFENDANTS,
                                     MINSTAR TRANSPORT, INC.
                                     AND RICHARD MCGOWLAN




                                        2
 Case 1:17-cv-00126-RC Document 1-2 Filed 03/31/17 Page 3 of 3 PageID #: 12




                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing was sent to all opposing
counsel via facsimile and/or email on the 28th day of March, 2017.

       Gilbert T. Adams, III
       GILBERT ADAMS LAW OFFICES
       P.O. Drawer 3688
       Beaumont, Texas 77704
       Attorney for Plaintiffs

       W.T. Womble
       THE WOMBLE LAW FIRM
       8 Eaton Square
       Houston, Texas 77027
       Attorney for Kubota Tractor Corporation


                                           /s/ Robert L. Ramey
                                           Robert L. Ramey




                                              3
